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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

Adam Steele, Brittany Montrois, and    )
Joseph Henchman, on behalf of          )
themselves and all others similarly    )
situated,                              )
       Plaintiffs,                     )
                                       )
                                                Civil Action No.: 1:14-cv-01523-RCL
      v.                               )
                                       )
United States of America,              )
      Defendant.                       )
                                       )

                               JOINT STATUS REPORT

      On January 24, 2023, this Court remanded this matter to the IRS to determine an

appropriate refund for the class. (ECF 222 (“Order”)). The Order also required the parties

to file a joint status report every 30 days informing the Court of the “IRS’s work on

remand until such time as that work is complete.” Id. The parties submit this joint status

report as required by the Order.

United States:

      During the past 30-days the United States, consistent with the Order, considered

which parts of the Court’s sealed memorandum decision should remain under seal. After

the IRS and Accenture were able to review the memorandum decision, the parties

submitted a notice of compliance indicating which portions of the memorandum decision

should be unsealed. (ECF 224.) Additionally, the IRS began developing the methodology

and process for calculating a refund for the class in accordance with the Court’s order.




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Finally, during the last 30 days, the IRS and undersigned counsel at the Department of

Justice met at least once weekly regarding the IRS’s work on remand.

       On January 23, 2023, the Court ordered the parties “to file within 30 days of the

issuance of this Order and every 30 days thereafter a joint status report informing the

Court of the status of the IRS's work on remand until such time as that work is complete.”

The United States declines to comment on the “Plaintiffs” section below because it

exceeds the scope of the status report ordered by the Court, and because it seeks relief

that is not requested through a motion as required under Fed. R. Civ. P. 7(b).

Plaintiffs:

       Proposed Revisions to Order. It is plaintiffs’ position that certain language in the

Court’s order (ECF 222) should be amended to accurately reflect the effective dates and

amounts of the fees at issue. For example, the Order states that “the IRS shall use the 2010

Cost Model and fee amount of $50 as the baseline for the FY 2011 through 2015 PTIN fees

. . . .” The $50 fee, however, was in effect from October 1, 2010 through October 31, 2015,

one month into FY 2016. The Order further states that “the IRS shall use the . . . 2015 Cost

Model and fee amount of $33 as the baseline for the FY 2016 and 2017 PTIN fees.” The

$33 PTIN fee, however, went into effect one month into FY 2016, on November 1, 2015,

and continued to be in effect until this Court’s injunction on July 10, 2017. Similarly, the

$17.00 Accenture fee went into effect on November 1, 2015, pursuant to a 2015 contract

with the IRS, and also continued in effect until July 10, 2017. Plaintiffs also propose

specifying the Cost Models to be used by bates number. A redline of proposed

clarifications to the Court’s order is attached as Exhibit A. Counsel for Defendant has

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informed Plaintiff that they “are confirming with the IRS that they agree with that

change.” They also expressed their view that any corrections should be filed in a Rule 60

motion to amend the Court’s order. If so ordered, the parties will file such a motion.

       Foreign Preparer Registration Processing. The 2010 Cost Model includes the

following item: “Foreign Preparer Registration Processing: Includes costs associated with

validating location and identity of preparers without an SSN.” See e.g., ECF 177-31 at 5.

Montrois held that the “specific benefit” provided by the PTIN is “help[ing] protect tax-

return preparers’ identities by allowing them to list a number on returns other than their

social security number.” Montrois v. United States, 916 F.3d 1056, 1063 (D.C. Cir. 2019).

Consistent with that holding, this Court held that “the government must be able to

explain with respect to each activity that formed the basis of the PTIN fees how that

activity was reasonably related to providing the private benefit that the Circuit identified

in Montrois: a means of identifying return preparers that protects them from identity

theft.” ECF 221 at 18.

       Foreign preparers who did not have social security numbers received no benefit

from the PTIN. Plaintiffs briefed this issue in their opening brief. ECF 177-29 at 20-21. The

government did not respond to the argument, and the Court did not rule on the issue.

Plaintiffs believe that any costs in the 2010 and 2015 Cost Models relating to foreign

preparer registration processing should not be included in the PTIN fee. Plaintiffs wish

to raise the issue at the beginning of the remand process so it may be accounted for as

appropriate. Defendant does not agree that costs associated with the registration of

foreign preparers are not permissible.

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       Concededly unlawful exactions. Since the remand from the D.C. Circuit,

Defendant has conceded that $110,165,532.35 of PTIN fees paid during the period 2010 to

July 2017 were excessive and wrongly collected. Of that $110,165,532.35, the government

to date has paid $28,982,499 for the benefit of the plaintiff class. See ECF 173-22; ECF 173-

23. Those monies have been placed into an interest-bearing escrow account maintained

by the class administrator, approved by the Court to disseminate class notice. In October

2022, class counsel directed the administrator to invest the bulk of those funds in 6-month

Treasury bills, earning approximately 4.5% in interest. To date, the funds in escrow have

earned $90,838.13 in interest. Class counsel will continue to direct that these funds be

invested for the benefit of the class during the remainder of this litigation. Upon final

resolution of this mattereither by way of judgment or settlementthe monies in the

escrow account, along with any other amounts agreed to by settlement or ordered by the

court, will be combined and distributed to the plaintiff class by the class administrator.

       Because the government has conceded that $110,165,532.35 in fees have been

unlawfully exacted from the class, and because it is the government’s position that the

class will “not be able to recover interest on the damages that the government has agreed

it must pay,” the plaintiffs believe that this Court should enter a partial final judgment

against the government under Rule 54(b) in the amount of the concededly unlawful

exactions. Entergy Nuclear Palisades, LLC v. United States, 122 Fed. Cl. 225, 227–30 (Fed. Cl.

2015) (entering partial final judgment against the federal government under Rule 54(b)

with respect to uncontested damages). These concededly unlawful exactions give rise to

their own claims for purposes of Rule 54(b), and there is no sound reason to permit the

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government to continue retaining funds that it agrees were unlawfully taken from the

class. Id. Defendant has refused to pay the conceded amounts to Plaintiffs.

       Ghost Preparers. On page twenty-two of its opinion, the Court states that “[t]o the

extent that [the three specific categories of Compliance Department activities] relate to

misuse of PTINs, all three are reasonably related to the provision of the private benefit

that the Circuit identified in Montrois—protection of preparers’ identity—because the

misuse of PTINs compromises their ability to serve as a secure means of identification.”

ECF 221 at 22. Yet, in the next paragraph, the opinion suggests that activities related to

“the misuse or nonuse of PTINs” are recoverable costs. Although it is plaintiffs’ position

that certain costs related to the misuse of PTINs may be recoverable, it is also their

position that costs related to the nonuse of PTINs—a distinct category—are not

recoverable. See ECF 204 at 14 n.9 (arguing that ghost-preparer problems have existed for

decades (i.e., pre-PTINs) and a PTIN would not be of use to a ghost preparer). Thus,

plaintiffs respectfully request leave to file a brief (no more than 5 pages) motion seeking

clarification of whether the costs of both activities relating to misuse and nonuse are

recoverable, or if only the costs of activities relating to PTIN misuse are recoverable.

Defendant objects to the filing of a motion for clarification.

(Signatures on next page)




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Dated: February 23, 2023

Respectfully submitted,


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                              CERTIFICATE OF SERVICE


       I hereby certify that on February 23, 2023, I electronically filed the Joint Notice of

Compliance CM/ECF system. I understand that notice of this filing will be sent to all

parties by operation of the Court’s electronic filing system.


       Dated: February 23, 2023                          /s/ Stephanie A. Sasarak
                                                         STEPHANIE A. SASARAK




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